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 8
                                    UNITED STATES DISTRICT COURT
 9
                                      FOR THE DISTRICT OF ARIZONA
10
      Angela Staeheli, an individual,
11                                                   Case No.
                         Plaintiff,
12                                                   COMPLAINT
      v.
13
      Adler University, an Illinois not-for-
14    profit corporation,
15                       Defendant.
16
17
18             Plaintiff Angela Staeheli alleges as follows:
19                                       PRELIMINARY STATEMENT
20            1.       This is an action for racial discrimination, harassment, and retaliation in
21 violation of Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.
22                                 PARTIES, JURISDICTION & VENUE
23            2.       Plaintiff Angela Staeheli is an individual who, at all relevant times,
24 resided in the State of Arizona, Maricopa County.
25            3.       Defendant Adler University is an Illinois not-for-profit corporation with
26 its central administrative offices in the State of Illinois, Cook County.
27            4.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
28 1332, and 1343.



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 1         5.     Personal jurisdiction over Defendant Adler University is proper in this
 2 District because Adler University purposefully directed its activities or consummated
 3 some transaction within the forum, the claims arise out of or relate to those forum-
 4 related activities, and exercising jurisdiction is reasonable.
 5         6.     Venue is proper in this District in that a substantial part of the events or
 6 omissions giving rise to the claim occurred in this District.
 7                                GENERAL ALLEGATIONS
 8         7.     Plaintiff Angela Staeheli is the chief operating officer of Scarlett Ink
 9 Publishing, holds a master’s degree in military psychology, and is a successful author in
10 her own right, having published numerous books through traditional publishing.
11         8.     In 2018, Ms. Staeheli decided to continue with her schooling to earn a
12 doctoral degree.
13         9.     Ms. Staeheli had earned her master’s degree in military psychology from
14 Defendant Adler University in October 2018.
15         10.    For her doctoral degree, Ms. Staeheli considered various universities, both
16 around Phoenix and online, that would allow her to continue living and working in
17 Arizona.
18         11.    Ms. Staeheli ultimately settled on Adler University because she had had a
19 good experience in her master’s degree program, and it allowed her to complete all her
20 doctoral coursework online from her home in Mesa, Arizona and to complete all
21 internship requirements in an Adler-approved nonprofit organization in the State of
22 Arizona.
23         12.    Ms. Staeheli is white.
24         13.    Defendant Adler University is an accredited university that offers various
25 graduate and doctoral degrees in psychology and psychology-related fields.
26         14.    Adler University’s stated mission is “graduating socially responsible
27 practitioners, engaging communities, and advancing social justice.”
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 1         15.    The homepage of Adler University’s website greets visitors with the
 2 statement, “We stand for social justice.”
 3         16.    In the “Why Us” section of Adler University’s website, the school
 4 professes, “If social justice is your passion, this is where you need to be.”
 5         17.    In 2018, Ms. Staeheli applied to Adler University’s online doctoral
 6 program for Industrial and Organizational Psychology (the “DIOP program”).
 7         18.    Ms. Staeheli was drawn to the DIOP program because she was interested
 8 in working with service members and military veterans and in starting a nonprofit to
 9 assist veterans transitioning back to civilian life.
10         19.    Ms. Staeheli is a military veteran.
11         20.    Ms. Staeheli’s husband is a military veteran.
12         21.    Ms. Staeheli’s son is active-duty military.
13         22.    Adler University extended Ms. Staeheli an offer to matriculate in the
14 DIOP program.
15         23.    Ms. Staeheli accepted Adler’s offer and enrolled in the online program.
16         24.    In January 2019, Ms. Staeheli began online courses.
17         25.    Ms. Staeheli excelled in her studies.
18         26.    Ms. Staeheli maintained a 4.0 grade point average throughout her master’s
19 in military psychology and in the DIOP program until she enrolled in Adler University’s
20 Social Justice Practicum, commencing in the Spring of 2020.
21         27.    Adler University requires all students to take the Social Justice Practicum
22 as part of the curriculum.
23         28.    The Social Justice Practicum was not a requirement of Ms. Staeheli’s
24 master’s degree program.
25         29.    The Social Justice Practicum is a course that spans four terms and
26 includes both a volunteer component and a classroom component, requiring various
27 reflective exercises and projects.
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 1         30.    Dr. Sheri Lewis, a black professor at Adler, taught the classroom
 2 component of the Social Justice Practicum.
 3         31.    Ms. Staeheli initially performed well and enjoyed the Social Justice
 4 Practicum, maintaining an A for the first couple weeks of the term.
 5         32.    Ms. Staeheli’s success in the course began to reverse when Dr. Lewis
 6 turned the Social Justice Practicum into a racially-charged indictment of all white
 7 people.
 8         33.    Adler University has a recording of Dr. Lewis’s Social Justice Practicum
 9 synchronized sessions, which were recorded via Zoom.
10         34.    Dr. Lewis taught that all white people suffer from white fragility.
11         35.    Dr. Lewis taught that all white people exhibit tendencies of white
12 supremacy.
13         36.    Dr. Lewis taught that all police officers relish in exploiting and killing
14 minorities.
15         37.    Dr. Lewis’s racial antagonism infected the rest of the course participants.
16         38.    Other students in the course regularly asserted odious pronouncements
17 such as “I hate all white people!” and targeted white classmates with abusive quips,
18 such as “fuck you, colonists!”
19         39.    Ms. Staeheli and other white students were regularly called “racist” in the
20 classroom simply because they were white.
21         40.    Dr. Lewis did not attempt to rein in the racial hostility.
22         41.    Rather, Dr. Lewis encouraged these hostile exchanges.
23         42.    The hostility increased and intensified after the death of George Floyd.
24         43.    In the course of these classroom discussions, Ms. Staeheli expressed
25 disagreement toward the premise that all white people were similarly afflicted with such
26 vile thoughts, tendencies, and shortcomings.
27         44.    Anytime Ms. Staeheli raised concerns about overgeneralizing or
28 stereotyping all white people, she was met with ridicule and ire.


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 1         45.      Ms. Staeheli began feeling she could not take part in the class or engage in
 2 reflective discussions because she was attacked or mocked anytime she spoke.
 3         46.      After expressing her contrary viewpoints in front of the class, Ms.
 4 Staeheli’s grade began to suffer.
 5         47.      For example, Ms. Staeheli submitted a reflection paper in response to an
 6 assignment that required all students to interview a family member to, among other
 7 things, identify the family member’s biases and discuss their roles in the cycle of
 8 socialization.
 9         48.      In that paper, Ms. Staeheli discussed her interview with her
10 developmentally disabled daughter, her experience with bullying, oppression, and
11 discrimination in school and the workplace, and how she ultimately acquired no
12 discernible biases despite exposure to her biological father who strongly espouses
13 biased views.
14         49.      Dr. Lewis gave Ms. Staeheli a 20/40 (50%) on the reflection paper.
15         50.      Dr. Lewis wrote that Ms. Staeheli had “conflated discrimination with
16 white fragility and the effects of white supremacy.”
17         51.      Dr. Lewis’s comments on the paper insinuated that Ms. Staeheli’s
18 daughter could not have possibly ever experienced discrimination simply because she is
19 white, notwithstanding the fact that she had been the victim of discrimination arising
20 from her developmental disability.
21         52.      When Ms. Staeheli raised objections to Dr. Lewis’s presumptuous
22 characterization of her daughter, Dr. Lewis dismissed her concerns, advising that she
23 was qualified “to identify areas where students need to grapple with privilege and
24 deconstruct white supremacy.”
25         53.      Dr. Lewis also frequently told Ms. Staeheli and other white students that
26 they would fail her course if they did not openly acknowledge their white fragility and
27 white-supremacist tendencies.
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 1           54.   Dr. Lewis made similar statements in writing on Ms. Staeheli’s
 2 assignments and on an Adler University message board.
 3           55.   Dr. Lewis did not impose similar requirements on students of other races.
 4           56.   Upon information and belief, the administration at Adler University would
 5 deem it utterly intolerable—indeed, contrary to basic human rights—to tell a black
 6 student she would fail if she did not admit she had some assumed shortcoming based on
 7 a negative stereotype of black people.
 8           57.   Ms. Staeheli resisted the demand to acknowledge she was somehow “less
 9 than” other students by mere virtue of her skin color.
10           58.   To her, this hostile environment felt like the opposite of Adler
11 University’s stated commitment to social justice.
12           59.   Ms. Staeheli’s grade continued to suffer.
13           60.   On July 11, 2020, Ms. Staeheli reported her concerns regarding Dr.
14 Lewis’s course to Dr. Donna DiMatteo-Gibson, the director of the DIOP program, and
15 Dr. Michelle Dennis, the chair of the Leadership and Applied Psychology Department.
16           61.   Ms. Staeheli reported numerous instances of inappropriate behavior,
17 including having been “singled out in this class, harassed, bullied, and discriminated
18 against” and having been “called a racist multiple times for no other reason than the fact
19 that [she was] white.”
20           62.   Ms. Staeheli also complained of the vicious discriminatory harassment she
21 had experienced at the hands of her classmates.
22           63.   The administrators told Ms. Staeheli they would look into it and get back
23 to her.
24           64.   Despite Ms. Staeheli raising concerns, the University administration did
25 nothing to correct these issues.
26           65.   Soon after Ms. Staeheli pled for the administration’s help, Dr. Lewis
27 openly and defiantly taunted Ms. Staeheli by announcing to the entire class that a white
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 1 female student had made a complaint against her because the student was struggling
 2 with her white fragility and refusing to accept her white supremacy and white privilege.
 3         66.    The announcement was an implicit threat that Dr. Lewis knew about Ms.
 4 Staeheli’s complaint, that the administration would not take Ms. Staeheli’s complaints
 5 seriously, that Dr. Lewis could get away with anything, and that Ms. Staeheli better
 6 think twice before lodging further complaints.
 7         67.    The announcement was in retaliation for Ms. Staeheli’s complaint.
 8         68.    The announcement was intended to make Ms. Staeheli feel even more
 9 uncomfortable.
10         69.    The announcement further increased the hostility in the course.
11         70.    Thereafter, Dr. Lewis no longer provided feedback or gave explanations
12 for grades on Ms. Staeheli’s papers and assignments, despite regularly assigning her low
13 grades.
14         71.    Ms. Staeheli felt the grades were further retaliation for disagreeing with
15 Dr. Lewis and for lodging a complaint with the administration.
16         72.    Upon information and belief, Dr. Lewis penalized Ms. Staeheli on the
17 assignments in retaliation for expressing disagreement toward and complaining about
18 her discriminatory conduct.
19         73.    The stress of the hostile environment weighed on Ms. Staeheli’s other
20 grades, and her 4.0 grade point average fell.
21         74.    The University administration then refused to sign Ms. Staeheli’s
22 application to obtain her temporary counseling license while completing her clinic
23 hours, which would have allowed her to earn money while doing the work.
24         75.    To obtain an LPC license, the State of Arizona required Ms. Staeheli to
25 prove she had a master’s degree in psychology and to demonstrate she had taken certain
26 courses to qualify for the license.
27
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 1           76.   When Ms. Staeheli requested Adler University to complete the form
 2 acknowledging she had earned her master’s degree and taken certain courses, Adler
 3 refused.
 4           77.   Adler University gave a vague excuse that the courses did not qualify her
 5 to be a counselor.
 6           78.   Adler University refused to listen when Ms. Staeheli explained that the
 7 licensing requirements were set by the State of Arizona and she merely needed Adler to
 8 verify she had taken the courses and earned the degree.
 9           79.   Ms. Staeheli felt this refusal to verify her degree and coursework was in
10 further retaliation for having disagreed with and complained about Dr. Lewis.
11           80.   Upon information and belief, the refusal to verify Ms. Staeheli’s degree
12 and coursework was in retaliation for having disagreed with and complaining about Dr.
13 Lewis.
14           81.   On June 22, 2020, Ms. Staeheli submitted a written complaint to the
15 Office of Civil Rights (“OCR”) at the Department of Education.
16           82.   In the complaint to OCR, Ms. Staeheli reiterated the discrimination she
17 had endured at the hands of Dr. Lewis and other students, that Adler University was
18 refusing to act, and that she was being subjected to a hostile learning environment as a
19 result.
20           83.   Numerous other students have filed complaints against Dr. Lewis for the
21 same or similar conduct.
22           84.   Adler University is and has been well aware of Dr. Lewis’s discriminatory
23 practices.
24           85.   Adler University has refused to correct Dr. Lewis’s discriminatory
25 practices.
26           86.   By refusing to correct Dr. Lewis’s discriminatory practices, Adler
27 University has ratified Dr. Lewis’s discriminatory practices.
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 1         87.    Upon information and belief, Adler University initially refused to comply
 2 with the OCR’s requests, including for copies of Dr. Lewis’s synchronized sessions,
 3 which were recorded via Zoom.
 4         88.    It became apparent to Ms. Staeheli that Adler University had no interest in
 5 providing her a safe and non-discriminatory learning environment.
 6         89.    With nowhere else to turn, Ms. Staeheli felt compelled to withdraw from
 7 the University.
 8         90.    Ms. Staeheli has suffered substantial damages, including lost tuition,
 9 education expenses, and severe emotional distress.
10         91.    Adler University’s conduct is causing immediate and irreparable harm to
11 Ms. Staeheli and will continue to cause such harm and injury unless enjoined by this
12 court. Ms. Staeheli has no adequate remedy at law.
13         92.    Since she decided to withdraw, Adler University has further interfered
14 with Ms. Staeheli’s career and education opportunities.
15         93.    Without explanation, Adler University has withheld sealed copies of Ms.
16 Staeheli’s transcripts so she could not apply to transfer credits to other universities.
17                                  COUNT ONE
     (Discrimination and Harassment in violation of Title VI of the Civil Rights Act of
18                                       1964)
19         94.    Ms. Staeheli realleges all other allegations in this Complaint.
20         95.    Pursuant to 42 U.S.C. § 2000d (“Title VI”), “No person in the United
21 States shall, on the ground of race, color, or national origin, be excluded from
22 participation in, be denied the benefits of, or be subjected to discrimination under any
23 program or activity receiving Federal financial assistance.”
24         96.    Adler University qualifies as a “program” under Title VI. See 42 U.S.C. §
25 2000d-4a(2)(A) (defining program as “all of the operations of . . . a college, university,
26 or other postsecondary institution”).
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 1         97.    Adler receives Federal financial assistance because it is “empowered to
 2 extend Federal or financial assistance” to its students and programs “by way of grant,
 3 loan or contract.” See 42 U.S.C. § 2000d-1.
 4         98.    Ms. Staeheli has been excluded from participation in, been denied the
 5 benefits of, or been subjected to discrimination the courses at Adler University on the
 6 basis of race, color, or national origin.
 7         99.    Ms. Staeheli is a member of a protected class by virtue of her targeted
 8 race, color, and/or national origin.
 9         100.   Title VI supports claims for reverse discrimination.
10         101.   Ms. Staeheli has suffered numerous adverse actions.
11         102.   Ms. Staeheli was well qualified to continue in pursuit of her education.
12         103.   Ms. Staeheli was treated differently from students of other races.
13         104.   Moreover, Adler University is liable for the race-based harassment and
14 discrimination Ms. Staeheli suffered at the hands of other students.
15         105.   The harassment by other students was so severe, pervasive, and
16 objectively offensive that it deprived Ms. Staeheli of the opportunities and benefits of
17 attending Adler University.
18         106.   Adler University had actual knowledge of this harassment by virtue of
19 Ms. Staeheli’s repeated reports of the harassment to Adler University’s administrative
20 personnel.
21         107.   Adler University had control over the harassers and the environment in
22 which the harassment occurred.
23         108.   Adler University was deliberately indifferent to the harassment.
24         109.   As a result of Adler University’s acts and/or omissions, Ms. Staeheli has
25 incurred damages in an amount to be proven at trial.
26         110.   The complained-of activities were committed maliciously and in
27 conscious disregard of Ms. Staeheli’s rights.
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1                                        COUNT TWO
              (Retaliation in violation of Title VI of the Civil Rights Act of 1964)
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            111.   Ms. Staeheli realleges all other allegations in this Complaint.
3
            112.   Title VI also prohibits universities that receive Federal financial assistance
4
     from retaliating against students for engaging in protected activities.
5
            113.   Ms. Staeheli’s complaints about discrimination at Adler University were a
6
     protected activity under Title VI.
7
            114.   Ms. Staeheli was subjected to adverse action as a direct and proximate
8
     result of engaging in a protected activity.
9
            115.   Ms. Staeheli has been damaged in an amount to be proven at trial.
10
            116.   The complained-of activities were committed maliciously and in
11
     conscious disregard of Ms. Staeheli’s rights.
12
            WHEREFORE, Plaintiff Angela Staeheli respectfully requests entry of Judgment
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     in her favor and against Defendant Adler University as follows:
14
                   A.     For declaratory relief declaring that Defendant’s conduct
15
     complained of herein amounted to racial discrimination, harassment, and retaliation, and
16
     is unlawful under federal law;
17
                   B.     For an award of general and specific damages;
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                   C.     For an award of punitive damages in an amount appropriate to
19
     punish Defendant for its intentional and/or reckless disregard of Ms. Staeheli’s rights,
20
     and to deter Defendant and others from engaging in such misconduct in the future;
21
                   D.     For an award of attorney fees and costs as provided by law;
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                   E.     For an award of pre- and post-judgment interest on any ultimate
23
     award to the maximum amount permitted by law;
24
                   F.     For preliminary and permanent injunctive relief ordering Defendant
25
     and its employees, agents, officers, directors, attorneys, successors, affiliates,
26
     subsidiaries, and assigns, and any and all persons or entities in active concert with them,
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     to cease its discriminatory and retaliatory conduct against Ms. Staeheli and others.
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                   G.     For such other and further relief as is proper and just.


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1                                JURY TRIAL DEMAND
2        Plaintiff Angela Staeheli hereby requests a trial by jury pursuant to Rule 38, Fed.
3 R. Civ. P.
4
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         DATED this 22th day of January, 2021.
6
7                                       Jaburg & Wilk, P.C.
8
                                        /s/ Alden A. Thomas
9                                       Alden A. Thomas
                                        Aaron K. Haar
10                                      Attorneys for Plaintiff
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